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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 CHRISTOPHER MORGAN,                          §
                                              §
 Plaintiff,                                   §
                                              §
 v.                                           §         CIVIL ACTION NO. 4:16-CV-00728
                                              §
 ALLSTATE VEHICLE AND                         §
 PROPERTY INSURANCE                           §                     (JURY TRIAL)
 COMPANY,                                     §
                                              §
 Defendant.                                   §

                AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff Christopher Morgan and Defendant Allstate Vehicle and Property Insurance

 Company hereby dismiss all claims with prejudice pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A)(ii). The parties intend for this Agreed Dismissal to constitute a final disposition of their

 claims in accordance with their settlement agreement.

                                                  Respectfully submitted:

                                                  /s/ Derek L. Fadner_(with permission)___
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                                                  State Bar No. 24091857
                                                  J. Zachary Moseley
                                                  State Bar No. 24092863
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                                                /s/ Eric K. Bowers ______________
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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served in
 compliance with the Federal Rules of Civil Procedure on all counsel of record via electronic
 filing on the 4th day of April, 2017.



                                               /s/ Derek L. Fadner (with permission)___
                                               Derek Fadner




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